               Case 3:23-cr-00604-DB
                        IN THE UNITEDDocument
                                       STATES1DISTRICT
                                                Filed 03/22/23
                                                         COURT Page 1 of 4FILED
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     El PASO DIVISION
                                     EL Paso                                          March 22, 2023

 UNITED STATES OF AMERICA,                         §                              CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS
                                                   §                                  By:        DT
            Plaintiff,                             §                                                   Deputy
                                                   §   INDIC TMENT
 v.                                                §             Case No:         EP:23-CR-00604-DB
                                                   §   CTS 1-14: 18 U.S.C. § 1343, Wire Fraud
 MARK MATYI                                        §
                                                   §   Notice of Government’s Demand for
            Defendant.                             §   Forfeiture
                                                   §

           THE GRAND JURY CHARGES:

                                COUNTS ONE THROUGH FOURTEEN
                                        (18 U.S.C. § 1343)
                                          WIRE FRAUD

                                          INTRODUCTION

At all times relevant to this Indictment:

           Defendant, MARK MATYI, lived in or around El Paso Texas, within the Western

           District of Texas.

      2.   Defendant, MARK MATYI, registered and owned certain corporations and companies

           which he utilized to further his unlawful scheme, as more fully detailed below.

      3.   Defendant, MARK MATYI, was not authorized by the United States Bureau of Land

           Management or any other Agency or Department of the United States to sell, convey,

           transfer and otherwise dispose of lands owned by the United States and under the

           management of the United States Bureau of Land Management.

                  Scheme and Artifice to Defraud and to Obtain Money or Property

It was part of the Scheme to Defraud that:

      1. Defendant, MARK MATYI, filed false documents with state and county agencies in

           California, Colorado, New Mexico and Texas in which he claimed to be a representative
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                      State and purported to transfer 1land
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                                                                                        4

        owned and operated by defendant, MARK MATYI.

   2. After filing the false documents, defendant, MARK MATYI, advertised for sale the

        lands that he had falsely purported to transfer on Internet websites, specifically an

        Internet website (“The Company”) that allows individuals to post items for sale.

   3.   Each item defendant MARK MATYI posted for sale on the Company’s website had an

        accompanying “Item ID” number, as further detailed below.

   4.   Defendant, MARK MATYI, then entered into agreements to sell, convey and transfer

        the lands that he had purportedly transferred from the United States to companies he

        owned and operated, to other individuals, thereby obtaining and attempting to obtain

        monies from those individuals.




        Beginning on or about July 27, 2018 and continuing through on or about December 22,

2018, in the Western District of Texas, and elsewhere, the defendant,

                                         MARK MATYI

did devise and intend to devise a scheme and artifice to defraud and to obtain money and

property from certain individuals as described below by means of material false and fraudulent

pretenses, representations and promises, both by affirmative acts and by deceitful concealment of

material facts, that is, the defendant, MARK MATYI, devised and intended to devise a scheme

to obtain money from the individuals described below; and the defendant did transmit and cause

to be transmitted by means of wire communication in interstate and foreign commerce certain

writings, signs, signals and pictures for the purpose of executing such scheme and artifice:

 CT #        VICTIM            ITEM ID                           DATES OF WIRE
                                                                 TRANSMISSIONS
 CT #1       J.S.              401615488447                      On or about October 11, 2018
 CT #2       E.A.R.            401616217143                      On or about October 12, 2018
 CT #3       T.P.              401618235927                      On or about October 16, 2018
 CT #4       A.C.              401624486266                      On or about October 27, 2018
 CT #5        Case
               J.C. 3:23-cr-00604-DB   Document 1 Filed 03/22/23
                               401624587061                       Page
                                                         On or about    3 of 27,
                                                                     October 4 2018
 CT #6        S.P.             401628642870                        On or about November 3, 2018
 CT #7        T.N.             401628667307                        On or about November 3, 2018
 CT #8        J.G.             401640777247                        On or about November 20, 2018
 CT #9        S.C.             401650218455                        On or about December 4, 2018
 CT #10       R.G. AKA         401650330978                        On or about December 4, 2018
              K.F.
 CT #11       D.P.             401651465433                        On or about December 6, 2018
 CT #12       J.L.             401657657209                        On or about December 14, 2018
 CT #13       G.M.             401667399413                        On or about December 22, 2018
 CT #14       A.G.N.           401667399905                        On or about December 22, 2018

all in violation of Title 18, United States Code, Section 1343.



               NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE
                             [See Fed. R. Crim. P. 32.2]

                                                I.
                        Wire Fraud Violation and Forfeiture Statutes
  [Title 18 U.S.C. § 1343, subject to forfeiture pursuant to Title 18 U.S.C § 981(a)(1)(C), as
              made applicable to criminal forfeiture by Title 28 U.S.C. 2461(c)]

       As a result of the foregoing criminal violations set forth in Counts One through Fourteen,

the United States of America gives notice to Defendant MARK MATYI of its intent to seek the

forfeiture of certain property upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18

U.S.C. § 981(a)(1)(C), as made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c).

Title 18 U.S.C. § 981(a)(1)(C) state in pertinent part:

       Title 18 U.S.C. § 981. Civil Forfeiture
        (a)(1) The following property is subject to forfeiture to the United States:
             * * *
             (C) Any property, real or personal, which constitutes or is derived from proceeds
             traceable to a violation . . . of this title or any offense constituting “specified unlawful
             activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to commit
             such offense.

       Wire Fraud is an offense constituting “specified unlawful activity” as defined in section

1956(c)(7).




       This Notice of Demand of Forfeiture includes but is not limited to the property described

below in Paragraph II.
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                                         Money Judgment

       A sum of money that represents the amount of proceeds obtained, directly or indirectly,

property involved in such offense, or traceable to such property as a result of the violations set

forth in Indictment for which Defendant MARK MATYI is liable.

                                          Substitute Assets

        If any of the above described forfeitable properties, as a result of any act or omission of

the Defendant:

       a.        cannot be located upon the exercise of due diligence;
       b.        has been transferred or sold to, or deposited with, a third person;
       c.        has been placed beyond the jurisdiction of the Court;
       d.        has been substantially diminished in value; or
       e.        has been commingled with other property which cannot be subdivided without
                 difficulty;

it is the intent of the United States to seek forfeiture, pursuant to Title 21 U.S.C. § 853(p) and Fed.

R. Crim. P. 32.2, of any other property (substitute assets) of said Defendant up to the value of the

forfeitable properties.




JAIME ESP
UNITED ST                      Y
BY:
     ssistant United States Attorney
